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      8                    UNITED STATES DISTRICT COURT
      9                  SOUTHERN DISTRICT OF CALIFORNIA

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     11   IN RE: PACKAGED SEAFOOD             Case No. 3:15-md-02670-DMS-MDD
          PRODUCTS ANTITRUST                  MDL No. 2670
     12   LITIGATION
     13                                       NOTICE OF VOLUNTARY DISMISSAL
                                              OF STARKIST CO., DONGWON
     14   This Document Relates To:           INDUSTRIES CO., LTD., AND DEL
                                              MONTE CORPORATION
     15   Winn-Dixie Stores, Inc. et al. v.
          Bumble Bee Foods LLC et al., Case
     16   No. 3:16-cv-00017
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                                                         NOTICE OF VOLUNTARY DISMISSAL
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      1        NOTICE IS HEREBY GIVEN that, pursuant to Federal Rule of Civil
      2 Procedure 41(a)(1)(A)(ii), Plaintiffs Winn-Dixie Stores, Inc. and Bi-Lo Holding,
      3 LLC and Defendants StarKist Co. (“StarKist”), Dongwon Industries Co., Ltd.
      4 (“DWI”), and Del Monte Corporation (“Del Monte”), by and through their counsel
      5 of record, hereby stipulate that StarKist, DWI, and Del Monte are dismissed from
      6 these proceedings with prejudice. This dismissal shall not operate as a dismissal of
      7 any person or entity named as a defendant or as a co-conspirator in the above-
      8 captioned proceedings other than StarKist, DWI, and Del Monte. The parties shall
      9 bear their respective fees and costs.
     10
     11 Dated: November 3, 2022                   AHERN AND ASSOCIATES, P.C.
     12
                                                  By: /s/ Patrick J. Ahern
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     19                                           Counsel for Plaintiffs Bi-Lo Holding,
     20                                           LLC and Winn-Dixie Stores, Inc.

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                                                          NOTICE OF VOLUNTARY DISMISSAL
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      1                           SIGNATURE ATTESTATION
      2        Under Section 2.F.4 of the Court’s CM/ECF Administrative Policies, I
      3 hereby certify that authorization for filing this document has been obtained from
      4 each of the other signatories shown above, and that all signatories have authorized
      5 placement of their electronic signature on this document.
      6
      7 Dated: November 3, 2022                       By: s/ Patrick J. Ahern
      8                                               Counsel for Plaintiffs Bi-Lo Holding,
                                                      LLC and Winn-Dixie Stores, Inc.
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